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Application GRANTED. The Show Cause Hearing scheduled for August 7, 2024, is adjourned to
August 14, 2024, at 4:30 P.M. At that time, the parties shall call 888- 363-4749 and enter the
access code 558-3333. By July 9, 2024, Plaintiff shall serve a copy of this Order on Defendant
Lord & Taylor Ecomm LLC and file proof of service of this Order.

Dated: July 8, 2024
       New York, New York
                                                                                         T 212.813.5900
                                                                                          Fzlz@fzlz.com
 July 3, 2024

 BY ECF

 Hon. Lorna G. Schofield, U.S. District Court, S.D.N.Y.
 Thurgood Marshall United States Courthouse
 40 Foley Square
 New York, NY 10007

             Re:   Gucci America, Inc v. Lord & Taylor Ecomm LLC, No. 1:23-cv-10239-LGS –
                   Letter Motion to Adjourn Show Cause Hearing (FZ Ref.: GUCC 2312182)

 Dear Judge Schofield:

 We are counsel to Plaintiff Gucci America, Inc. (“Plaintiff”) in the above-captioned case. Your
 Honor has ordered that Defendant Lord & Taylor Ecomm LLC (“Defendant”) show cause on
 August 7, 2024 at 4:30 p.m. (ECF No. 61) why the Court should not order the entry of a default
 judgment against Defendant and award Plaintiff permanent injunctive relief and statutory
 damages (the “Show Cause Hearing”).

 I am scheduled to take a deposition in San Antonio, Texas that day and anticipate that the
 deposition will be ongoing at the scheduled time for the Show Cause Hearing. For that reason, I
 request that the Show Cause Hearing be rescheduled during the following week. I am available
 and have no conflicts the week of August 12th.

 Since Defendant’s prior counsel withdrew as counsel, no replacement counsel for Defendant has
 appeared in this matter, and the Clerk of the Court issued a Certificate of Default on May 29,
 2024 (ECF No. 54). As a result, we have not sought consent to this request. We will, however,
 serve a copy of this letter on Defendant by mail to its street address.

 This is Plaintiff’s second request for adjournment. The Court granted Plaintiff’s first and only
 request for adjournment on December 8, 2023 (ECF No. 11).

 Respectfully submitted,

 /s/ John Margiotta

 John P. Margiotta




T 212.813.5900 F 212.813.5901                       frosszelnick.com / Fross Zelnick Lehrman & Zissu, P.C.
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